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Entered: February 27th, 2024
Signed: February 26th, 2024

SO ORDERED
WITH CONSENT OF THE DEBTOR PER COUNSEL ON THE
RECORD AT A HEARING HELD ON FEBRUARY 20, 2024.




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                              at Baltimore
                                   In re:   Case No.: 23−17502 − NVA          Chapter: 13

Donte Lewis
Debtor

                     ORDER DENYING CONFIRMATION OF CHAPTER 13 PLAN
                               WITHOUT LEAVE TO AMEND

Having held a hearing on confirmation of the Chapter 13 Plan proposed by the Debtor, and having concluded that the
proposed Plan does not fulfill the requirements for confirmation set out in 11 U.S.C. § 1325 and that the Debtor is
unable to file a Plan that is susceptible of confirmation, it is, by the United States Bankruptcy Court for the District of
Maryland,

ORDERED, that confirmation of the Chapter 13 Plan proposed by the Debtor is denied without leave to amend or to
file another Plan or modification of a Plan; and it is further

ORDERED, that if, within fourteen (14) days from the date of entry of this Order, this case is not converted to a case
under another chapter or voluntarily dismissed, then this case may be dismissed by the Court pursuant to 11 U.S.C. §
1307(c)(5)) without further notice or hearing.

cc:    Debtor − Donte Lewis
       Attorney for Debtor − Kim D. Parker
       Case Trustee − Brian A. Tucci

                                                    End of Order
08x04a (rev. 04/04/2006) − JoyceYalley
